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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )             No. 21-cr-123 (PLF)
                                          )
VITALI GOSSJANKOWSKI,                     )
                                          )
            Defendant                     )
__________________________________________)

                                        ORDER

      Upon consideration of the defendant’s Motion for Change of Venue, and for good cause

shown, it is hereby ORDERED that the motion is GRANTED.



DATE: ___________________



                                        ________________________________
                                        PAUL L. FRIEDMAN
                                        UNITED STATES DISTRICT JUDGE
